Case 1:09-cv-00294-JAW Document 21 Filed 08/31/10 Page 1 of 1      PageID #: 62




                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


  JAMIE L. BARD,                              )
                                              )
             Plaintiff,                       )
                                              )
        v.                                    )     Civil No. 09-294-B-W
                                              )
  SOCIAL SECURITY ADMINISTRATION              )
  COMMISSIONER,                               )
                                              )
             Defendant.                       )


                 ORDER AFFIRMING THE
      RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

        No objection having been filed to the Magistrate Judge’s Recommended

  Decision filed August 12, 2010, the Recommended Decision is accepted.

        Accordingly, it is hereby ORDERED that the Commissioner’s decision

  be VACATED and the case REMANDED for further proceedings.



                              /s/ John A. Woodcock, Jr.
                              JOHN A. WOODCOCK, JR.
                              CHIEF UNITED STATES DISTRICT JUDGE

  Dated this 31st day of August, 2010
